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                   Exhibit 7
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                                                                         Page 1

 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                             SAN JOSE DIVISION
 4                                  --oOo--
 5
 6      IN RE GOOGLE RTB CONSUMER                Case No.
 7      PRIVACY LITIGATION                       4:21-CV-02155-LHK-VKD
 8      ____________________________/
 9
10
11
12
13             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14
15
16
17             VIDEO-RECORDED DEPOSITION OF RETHENA GREEN
18                      SAN FRANCISCO, CALIFORNIA
19                       THURSDAY, APRIL 20, 2023
20
21
22
23      Reported by:
24      Anrae Wimberley, CSR No. 7778
25      Job No. CS5819744

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                                                                         Page 2

 1                    UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                             SAN JOSE DIVISION
 4                                  --oOo--
 5
 6      IN RE GOOGLE RTB CONSUMER                Case No.
 7      PRIVACY LITIGATION                       4:21-CV-02155-LHK-VKD
 8      ____________________________/
 9
10
11
12             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
13
14
15
16
17                   Transcript of video-recorded deposition
18      of RETHENA GREEN, taken at Cooley, LLP, Three
19      Embarcadero Center, 20th Floor, San Francisco,
20      California 94111, and also via Zoom videoconference,
21      beginning at 9:15 a.m. and ending at 3:02 p.m. on
22      Thursday, April 20, 2023, before Anrae Wimberley,
23      Certified Shorthand Reporter No. 7778.
24
25

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                                                                        Page 3

 1      APPEARANCES:
 2      For the Plaintiffs and the Proposed Class:
 3                  DICELLO LEVITT LLP
 4                  BY:   JAMES ULWICK, ESQ.
 5                        DAVID A. STRAITE, ESQ. (VIA ZOOM)
 6                  10 North Dearborn Street, Sixth Floor
 7                  Chicago, Illinois 60602
 8                  (312) 214-7900
 9                  julwick@dicellolevitt.com
10                  dstraite@dicellolevitt.com
11
12      For Defendant Google, Inc.:
13                  COOLEY, LLP
14                  BY:   KELSEY R. SPECTOR, ESQ.
15                  Three Embarcadero Center, 20th Floor
16                  San Francisco, California 94111
17                  (415) 693-2000
18                  kspector@cooley.com
19
20      Also present:
21                  TED HOPPE, Videographer
22                  VERITEXT LEGAL SOLUTIONS
23                                 --oOo--
24
25

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 1                                I N D E X
 2      EXAMINATION BY:                                             PAGE
 3      MS. SPECTOR                                                    7
 4      MR. ULWICK                                                   236
 5
 6                                 --oOo--
 7
 8                           E X H I B I T S
 9      EXHIBIT              DESCRIPTION                            PAGE
10      Exhibit 1       Google LLC's Notice of                         9
                        Deposition of Rethena
11                      Green; 2 pages
12      Exhibit 2       LinkedIn profile of Rethena                   30
                        K Green; 1 page
13
        Exhibit 3       Consolidated Class Action                    107
14                      Complaint; 139 pages
15      Exhibit 4       Document entitled "Exhibit                   146
                        20"; 34 pages
16
        Exhibit 5       Screenshot; Bates stamped                    154
17                      PLFS RTB GREEN 00017323
18      Exhibit 6       Zoomed-in screenshot of                      154
                        Exhibit 5; 1 page
19
        Exhibit 7       E-mail dated November 22,                    165
20                      2021; Bates stamped
                        PLFS_RTB_GREEN_00016896
21
        Exhibit 8       Screenshot; 3 pages                          173
22
        Exhibit 9       Screenshot; 3 pages                          174
23
        Exhibit 10      Privacy Policy from                          180
24                      Fidelity.com; 17 pages
25      Exhibit 11      Chrome my activity; 3 pages                  185

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 1                   E X H I B I T S (Cont'd)
 2      EXHIBIT         DESCRIPTION                         PAGE
 3      Exhibit 12   Navy Federal Online Privacy             189
                     Policy; 3 pages
 4
        Exhibit 13   Screenshot from Galaxy                  197
 5                   phone; Bates
                     PLFS_RTB_GREEN_00017320
 6
        Exhibit 14   Screenshot from laptop                  199
 7                   computer; Bates stamped
                     PLFS_RTB_GREEN_00017341
 8
        Exhibit 15   Screenshot from laptop                  200
 9                   computer; Bates stamped
                     PLFS_RTB_GREEN_00017345
10
        Exhibit 16   Screenshot from computer;               202
11                   Bates stamped
                     PLFS_RTB_GREEN_00017335
12
        Exhibit 17   Screenshot from computer;               204
13                   Bates stamped
                     PLFS_RTB_GREEN_00017336
14
        Exhibit 18   Screenshot from Galaxy                  210
15                   phone; Bates stamped
                     PLFS_RTB_GREEN_00017329
16
        Exhibit 19   Document entitled "Exhibit              213
17                   4, Google Terms of
                     Service"; 19 pages
18
        Exhibit 20   E-mail from Google to                   215
19                                @gmail.com; 2
                     pages
20
        Exhibit 21   Document entitled "Exhibit              217
21                   22, Personalized
                     Advertising"; 8 pages
22
        Exhibit 22   Document entitled "How                  233
23                   Google uses information
                     from sites or apps that use
24                   our services; 2 pages
25                            --oOo--

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                                                                        Page 6

 1                      THURSDAY, APRIL 20, 2023;
 2                      SAN FRANCISCO, CALIFORNIA;
 3                                9:15 A.M.
 4                                   - - -
 5             THE VIDEOGRAPHER:       Good morning.         We are going
 6      on the record.     The time now is 9:15 on April 20th,
 7      2023.
 8                  This is Media Unit 1 in the video
 9      deposition of Rethena Green in regards to Google RTB
10      Consumer Privacy Litigation, Case No. 4:21-cv-02155
11      and Case No. 5:21-cv-02155.
12                  This video deposition is taking place at
13      Three Embarcadero Center in San Francisco.
14                  My name is Ted Hoppe and I represent
15      Veritext and I'm the videographer.
16                  Counsel, could you please voice identify
17      yourselves for the record?
18             MS. SPECTOR:    Kelsey Spector on behalf of
19      Defendant Google.
20             MR. ULWICK:     James Ulwick on behalf of the
21      plaintiffs.
22             MR. STRAITE:    David Straite on behalf of
23      plaintiffs.
24                             RETHENA GREEN,
25       sworn in personally as a witness by the Certified

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 1             A.   Uh-hum.
 2             Q.   Great.
 3             A.   Yes.
 4             Q.   Yeah, yeah, yeah.            No, good job.        Great.
 5                  So moving a bit away from your educational
 6      background, I want to understand whether or not
 7      you've been involved in any litigations previously.
 8                  So have you been involved as a party in
 9      another litigation other than this current case?
10             A.   I have not been involved in any litigation
11      other than this case.
12             Q.   Okay.      Okay.     And -- so let's move to this
13      case then.
14                  Did you have prior relationships with any
15      of your current counsel?
16             A.   No.
17             Q.   No.    Okay.
18                  And -- so how did you find out about this
19      case?
20             A.   I was surfing the web, I was on the
21      website, and I just happened to see it and it
22      sounded interesting, and I just clicked on it to see
23      what it was about.
24             Q.   Great.
25                  And when you say you "happened to see it,"

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 1      what was it that you saw?
 2             A.   I seen about a case that -- about --
 3      against Google, and it sounded interesting to me, so
 4      I just clicked to see what it was about.
 5             Q.   Was it an online advertisement?
 6             A.   It was an online advertisement.
 7             Q.   Okay.      And where did you see this ad?
 8             A.   On Facebook.
 9             Q.   Okay.      And when you clicked the ad,
10      what -- after you clicked the ad and learned a
11      little bit more about this case, what did you do
12      next?
13             A.   I entered my information.
14             Q.   Okay.      And were you then contacted by
15      attorneys?
16             A.   I was contacted by an attorney.
17             Q.   Okay.      And you don't -- we can talk about
18      this, but you don't have to tell me what they said,
19      but who contacted you first?
20             A.   James Ulwick.
21             Q.   Okay.      And were you seeking legal advice
22      at the time that James reached out to you?
23             A.   I was seeking information on what I had
24      read on the Facebook post.
25             Q.   Okay.      And what further information were

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 1      you seeking?
 2             A.   I wanted to hear about the case that they
 3      were trying to, I guess, to have against Google.
 4             Q.   Okay.     And what specifically did you want
 5      to know?
 6             A.   I just wanted to know what it was about.
 7             Q.   Okay.     And what do you understand -- what
 8      did you understand at the time the case to be about?
 9             A.   I understood that the case was that Google
10      was selling my personal information -- selling
11      personal information to third parties.
12             Q.   Okay.     And how?
13             A.   Well, I asked questions and the attorney
14      explained what they had found out.
15             Q.   Okay.     So let's talk a little bit about
16      your engagement with counsel.
17                  Are you compensating your counsel in any
18      way?
19             A.   No.
20             Q.   Okay.     Do you expect to be compensated?
21             A.   No.
22             Q.   Okay.     And let's talk a little bit about
23      your preparation for this deposition.
24                  Did you meet with any attorneys?
25             A.   Yes.

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 1             Q.   With whom?
 2             A.   I met with James Ulwick and David Straite.
 3             Q.   Okay.     For how long?
 4             A.   I'm not sure what you mean, how long.
 5             Q.   Like a few hours, a couple days?
 6             A.   A few hours --
 7             Q.   Okay.
 8             A.   -- a few days.
 9             Q.   When?
10             A.   I met with -- I met with them about three
11      days ago --
12             Q.   Okay.
13             A.   -- about -- for a few hours.
14             Q.   Great.
15                  And did you review any documents that
16      refreshed your recollection?
17             A.   Yes.
18             Q.   Which ones?
19             A.   I reviewed the complaint.
20             Q.   Okay.
21             A.   And I reviewed the deposition for me.
22                  That's all I can remember at the moment.
23             Q.   Okay.     Great.
24                  And did you communicate with anyone other
25      than your attorneys about this deposition?

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 1             A.   No.
 2             Q.   Okay.     No other plaintiffs?
 3             A.   No.
 4             Q.   Anyone else?
 5             A.   No.
 6             Q.   Okay.     Great.
 7                  And you understand that your attorneys
 8      have produced some documents to us that you provided
 9      to them; is that correct?
10             A.   Yes.
11             Q.   Okay.     And what did you do to search for
12      these documents?
13             A.   What did I do to search for the documents?
14             Q.   Yes.
15             A.   I don't believe I -- well, they asked
16      for --
17             MR. ULWICK:     Well, I'm going to caution you not
18      to divulge the contents of any communications
19      between yourself and your attorneys.
20      BY MS. SPECTOR:
21             Q.   So let me rephrase the question then.
22                  Where did you search for documents, on
23      your cell phone, on your computer?
24             A.   I searched for documents on my cell --
25             Q.   Okay.

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 1             A.   -- and my computer.
 2             Q.   Anywhere else?
 3             A.   No.
 4             Q.   Okay.     In your e-mails?
 5             A.   Well, that's on my cell --
 6             Q.   Okay.
 7             A.   -- yeah.
 8             Q.   Okay.     In your Gmail account?
 9             A.   Yes.
10             MR. ULWICK:     Objection; foundation.
11      BY MS. SPECTOR:
12             Q.   Okay.     And multiple -- strike that.
13                  Did you search -- strike that.
14                  I understand you have multiple Gmail
15      accounts; is that correct?
16             A.   Yes.
17             Q.   Did you search for documents in each of
18      those accounts?
19             A.   I searched for documents in my -- yes, in
20      my Gmail accounts.
21             Q.   Okay.     Great.
22                  Moving on, I want to understand a little
23      bit about how you surf the Internet.                You said
24      earlier you surf the Internet.
25                  So generally, how often do you say you use

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 1      your views towards online privacy.
 2                  How concerned would you say you are about
 3      personal privacy while you're using the Internet?
 4             MR. ULWICK:     Objection; vague.
 5             THE WITNESS:    I'm concerned about my privacy
 6      online.
 7      BY MS. SPECTOR:
 8             Q.   Okay.     Why?
 9             A.   Because I don't want everyone to know my
10      information -- my private information.
11             Q.   Okay.     When you say, "private
12      information," what do you mean?
13             A.   Well, anything that's about me.
14             Q.   Your name?
15             A.   My name.
16             Q.   Your date of birth?
17             A.   My date of birth.
18             Q.   The city in which you live?
19             A.   That's -- yes, that would be included in
20      my private information.
21             Q.   What else would be included in your
22      private information?
23             A.   My gender, my age.
24             Q.   Anything else?
25             A.   Everything about me.

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 1             Q.   Is there anything about you that would not
 2      be private?
 3             MR. ULWICK:     Objection; calls for a legal
 4      conclusion.
 5             THE WITNESS:    No.     Everything about me should
 6      be private.    It's private to me.
 7      BY MS. SPECTOR:
 8             Q.   What about facts that you post on
 9      Facebook, do you think, for example, a picture that
10      you posted on Facebook, do you think that's private?
11             A.   It is because I just post to my friends.
12             Q.   Okay.     Do you have research -- have you --
13      strike that.
14                  Have you ever researched any ways to
15      protect your privacy online?
16             A.   No.
17             Q.   Why not?
18             A.   I didn't really think I needed to.
19             Q.   Have you -- strike that.
20                  Why not?
21             A.   I didn't think I needed to.
22             Q.   Okay.     Have you researched any ways to
23      protect your privacy after joining this lawsuit?
24             A.   No.
25             Q.   And why not?

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 1             A.   I don't think I needed to.              I don't
 2      think -- I don't think I needed to research how to
 3      protect my privacy because no one should have my
 4      information.
 5             Q.   But aren't you alleging that Google is
 6      sharing your information?
 7             A.   Yes.
 8             Q.   Have you done any research to try to find
 9      ways to stop Google from allegedly sharing your
10      information?
11             A.   Yes, I did.
12             Q.   Okay.     And what research did you do?
13             A.   I didn't -- oh, I'm sorry, I didn't
14      understand your question.
15             Q.   Oh, I was saying --
16             A.   Say it again?
17             Q.   So I was saying, I understand that you're
18      alleging that Google is sharing your information; is
19      that right?
20             A.   Yes.
21             Q.   Okay.     And since you joined this suit and
22      made those allegations, have you done any research
23      to find ways from Google -- to prevent Google from
24      allegedly sharing your information?
25             A.   No, I haven't done any research how to

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 1      stop Google from sharing my information.
 2             Q.   Why not?
 3             A.   Because I filed suit to kind of just stop
 4      Google from sharing my information.
 5             Q.   Okay.     So we'll talk about this suit in a
 6      little bit.    But let's go back to your general
 7      privacy habits.
 8                  Have you ever talked with your family
 9      about online privacy issues?
10             MR. ULWICK:     Objection; vague.
11             THE WITNESS:    Yes, I have.
12      BY MS. SPECTOR:
13             Q.   About what?
14             A.   How to make a strong password is basically
15      the only thing I might have probably discussed with
16      a family member.
17             Q.   Okay.     And who did you talk to about
18      passwords?
19             MR. ULWICK:     Objection; vague.
20             THE WITNESS:    My daughter.
21      BY MS. SPECTOR:
22             Q.   Okay.     Have you talked to your daughter
23      about any other online privacy concerns?
24             A.   No.
25             Q.   Your mom?

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 1             A.   No.
 2             Q.   Your grandma?
 3             A.   No.
 4             Q.   Okay.     Would you say you're more or less
 5      concerned than most people about your online
 6      privacy?
 7             MR. ULWICK:     Objection; vague.            Objection;
 8      literally calls for speculation.
 9             THE WITNESS:    I believe I'm concerned.              I
10      believe I'm concerned just as much as everyone else.
11      BY MS. SPECTOR:
12             Q.   Okay.     And why do you think that?
13             A.   Because I believe that everybody should be
14      concerned about their private information.
15             Q.   And why should they be concerned about
16      their private information online?
17             MR. ULWICK:     Objection; calls for speculation.
18             THE WITNESS:    Because it's about you.              It's
19      your information, and everyone shouldn't know
20      everything about you or be able to find that
21      information easily online.
22      BY MS. SPECTOR:
23             Q.   And do you think that people can find
24      information about you easily online?
25             A.   Not really, I just think that if it's

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 1      given to a third party, then the third party knows,
 2      you know, how to get -- has that information.
 3                  I don't think that it's easy for a person
 4      like me to get that information.
 5             Q.   Okay.     And do you take any steps to try to
 6      protect your privacy online?
 7             MR. ULWICK:     Objection; vague.
 8             THE WITNESS:    I just try to have a strong
 9      password.    I don't know very much on how to do
10      anything else.
11      BY MS. SPECTOR:
12             Q.   Is your Facebook private?
13             A.   My Facebook is private.
14             Q.   Is your Instagram private?
15             A.   My Instagram is private.
16             Q.   Okay.     Do you review privacy settings on
17      your social media accounts regularly?
18             MR. ULWICK:     Objection; vague.
19             THE WITNESS:    No.
20      BY MS. SPECTOR:
21             Q.   Okay.     Have you ever reviewed your privacy
22      settings in your Facebook, for example?
23             MR. ULWICK:     Objection; vague.
24             THE WITNESS:    I don't know what you mean by the
25      "privacy settings."

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 1             Q.   Have you visited them in the past?
 2             MR. ULWICK:     Same objections.
 3             THE WITNESS:    Probably.
 4      BY MS. SPECTOR:
 5             Q.   Okay.     Do you remember which specific
 6      sites?
 7             A.   I can't recall which specific sites.
 8             Q.   Okay.     Nickelodeon?
 9             A.   Maybe, but I can't recall which sites.
10             Q.   Okay.     Okay.
11                  So let's talk really quickly about
12      where -- what devices you use to browse the
13      Internet.
14                  Do you browse the Internet from your cell
15      phone?
16             A.   Yes.
17             Q.   Okay.     From a computer?
18             A.   Yes.
19             Q.   Okay.     A personal computer?
20             A.   Yes.
21             Q.   Okay.     A work computer?
22             A.   No.
23             Q.   Okay.     Do you have a work cell phone?
24             A.   No.
25             Q.   Okay.     So are there any other devices

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 1      other than your personal cell phone and personal
 2      computer that you use to browse the Internet?
 3             A.   No.
 4             Q.   Okay.     And what web browsers do you use on
 5      your cell phone?
 6             A.   I use Google Chrome.
 7             Q.   Okay.     Any others?
 8             A.   No.
 9             Q.   Okay.     What about on your personal
10      computer?
11             A.   No.   I use Google Chrome on my personal
12      computer.
13             Q.   And no other web browsers on your personal
14      computer?
15             A.   No.
16             Q.   Okay.     Have you ever tried any other web
17      browsers?
18             MR. ULWICK:     Objection; vague.
19             THE WITNESS:    I probably have.             I can't recall
20      if -- what or when.
21      BY MS. SPECTOR:
22             Q.   Okay.     Have you ever used Firefox?
23             A.   I recall using Firefox before.
24             Q.   Okay.     Where did you use that?
25             A.   Probably on the personal computer.

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 1             Q.   Like what sites, do you know?
 2             A.   I've seen them on Facebook.
 3             Q.   Okay.
 4             A.   I've seen them on Instagram.              I have seen
 5      them on CNN.
 6             Q.   Okay.     Have you ever seen them on any
 7      health-related sites?
 8             A.   I can't really recall.
 9             Q.   Okay.
10             A.   I can't specifically recall any
11      health-related sites.
12             Q.   Okay.     So let's take a break from ads and
13      let's talk about your Google accounts.
14                  I understand you have three Google
15      accounts; is that correct?
16             A.   Yes.
17             Q.   Okay.     And what are they?
18             A.   You want the addresses?
19             Q.   Yes.
20             A.   Okay.
21                  Well, the first one, one of them is
22                     .
23             Q.   Yeah.
24             A.   And then there's one that is                             .
25             Q.   Okay.

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 1             A.   And then there's one that's                               .
 2             Q.   Okay.     And do you have any other Google
 3      accounts?
 4             A.   No.
 5             Q.   Okay.     Do you use these accounts for
 6      different purposes?
 7             A.   I do.
 8             Q.   Why -- or explain, please.
 9             A.   I have one that I use daily, I would say,
10      that I just get most of my e-mails in.
11             Q.   Which one is that?
12             A.   That would be                 .
13             Q.   Okay.     And let's talk about                      for
14      now.
15                  Do you stay logged into                        --
16             MR. ULWICK:     Objection; vague.
17      BY MS. SPECTOR:
18             Q.   -- on your Chrome browser?               Sorry.
19             MR. ULWICK:     Objection; vague.            Objection;
20      calls for expert testimony.
21             THE WITNESS:     When you say, "logged in," like
22      on my phone, can I just pull it up?
23      BY MS. SPECTOR:
24             Q.   Yeah.
25             A.   Yes.

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 1             MR. ULWICK:     Objection; vague.
 2             THE WITNESS:    Have I ever stopped using a
 3      product that I started?
 4      BY MS. SPECTOR:
 5             Q.   Yeah.
 6             A.   I can't recall anything that I've
 7      stopped --
 8             Q.   Okay.
 9             A.   -- after I've started.
10             Q.   Okay.     Are there any other Google products
11      that you use that I haven't mentioned today?
12             A.   I can't think of any other that -- no.
13             Q.   Okay.     So let's talk about your devices a
14      little bit.    I said we'd circle back to that.
15                  So I understand you have a computer; is
16      that right?
17             A.   Yes.
18             Q.   Okay.     What kind of computer do you own?
19             A.   I believe it's a Dell computer.                I believe
20      so.
21             Q.   Is it a laptop?
22             A.   It's a laptop.
23             Q.   Okay.     How long have you had the computer?
24             A.   It's been a few years.
25             Q.   Okay.     And we've talked a little bit about

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 1      this in different questions, but can you just
 2      explain to me generally how you use your computer?
 3             A.   I don't use it very often.              I have used it
 4      in the past.    I just don't really use it very often.
 5                  So not necessarily surfing the web.                 I
 6      might have used it for work to watch a video or
 7      something, I believe.        I believe that might be why I
 8      used it.    But I don't use it very often.
 9             Q.   Okay.     Do you ever use it to surf the web?
10             A.   I have used it to surf the web.                I just
11      primarily don't use that -- use it to surf the web.
12             Q.   Okay.     Are there certain circumstances
13      when you would use your computer instead of your
14      phone to surf the web?
15             A.   I can't think of . . . I can't think of a
16      moment where it was -- differentiate why I would use
17      the -- I can't -- I probably have, but I can't think
18      of why I would use it, you know, one or the other
19      specifically.
20             Q.   Got it.
21                  And you do check your e-mails sometimes on
22      your computer; is that right?
23             A.   I have checked my e-mails on my computer.
24             Q.   Okay.     In what circumstances would you
25      check your e-mail on your computer instead of your

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 1      phone?
 2             A.     If I happen to be on it at the moment,
 3      then I would check the e-mail because I'm there.
 4      Basically, yeah.
 5             Q.     Does anyone else in your family use this
 6      computer?
 7             MR. ULWICK:     Objection; vague.
 8             THE WITNESS:    My son has used it before.
 9      BY MS. SPECTOR:
10             Q.     Okay.   What has he used it for, do you
11      know?
12             MR. ULWICK:     Objection; calls for speculation.
13             THE WITNESS:    Probably to watch videos.
14      BY MS. SPECTOR:
15             Q.     Okay.   And which son is this?
16             A.     This would be the youngest son.
17             Q.     The youngest son.        Okay.
18                    And do you remember when he used the
19      computer?
20             A.     I want to say about three months ago
21      about.      I want to say about three months ago.
22             Q.     Okay.   And does he have a Google account?
23             A.     Yes.
24             Q.     Okay.   Do you know if he logged into his
25      Google account on your computer?

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 1             A.   I don't know.
 2             Q.   Okay.     Has anyone else used the computer?
 3             A.   It would just be the son.
 4             Q.   Okay.     Does your daughter have her own
 5      computer?
 6             A.   Yes, she has her own computer.
 7             Q.   Okay.     What about your mom?
 8             A.   My mom does not have a computer.
 9             Q.   Okay.     And she doesn't use computers?
10             A.   She doesn't use computers.
11             Q.   Okay.     I'm guessing, same for your
12      grandma?
13             A.   Yes, grandma doesn't use a computer.
14             Q.   Okay.     I expected as much.
15                  Okay.     So let's talk about your phone a
16      little bit.
17                  Is your phone a smartphone?
18             A.   Yes.
19             Q.   Okay.     And what kind of phone is it, do
20      you know?
21             A.   A Samsung Galaxy.
22             Q.   Okay.     Do you know if it uses the Android
23      operating system?
24             A.   Yes.
25             Q.   Okay.     How long have you had this phone?

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 1             A.   Well, I have a new phone now.
 2             Q.   Oh, okay.     When did you get this phone?
 3             A.   I want to say three weeks --
 4             Q.   Okay.
 5             A.   -- two -- two to three -- about three
 6      weeks, I'd say.
 7             Q.   Okay.     And why did you get a new phone?
 8             A.   I got a new phone because my son needed --
 9      his phone was broken and he needed a new phone, so I
10      gave him my old phone.
11             Q.   Okay.     Got it.
12                  And when you gave your son your old phone,
13      did you log out of all of your apps?                Did you log
14      out of your Google account?
15             A.   Yes.
16             Q.   Okay.     What did you do to make sure of
17      that?
18             A.   I set it to a factory reset.
19             Q.   Great.
20                  And before you had -- sorry, is it a
21      Samsung Galaxy?
22             A.   Um-hum.
23             Q.   Okay.     What phone did you have before the
24      Samsung Galaxy?
25             A.   Before the one that I --

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 1             Q.   Have now.
 2             A.   I had a Samsung Galaxy.
 3             Q.   Oh, so you've had two Samsung Galaxies?
 4             A.   Yes.
 5             Q.   Okay.     And -- so for the Samsung Galaxy
 6      that you gave to your son, how long did you have it
 7      before you gave it to him?
 8             A.   I've had it several years.                I'm not sure
 9      of the time.      More than two years.
10             Q.   Okay.     And that Samsung Galaxy also ran on
11      the Android operating system; is that right?
12             A.   Yes.
13             Q.   Okay.     Have you ever had an iPhone?
14             A.   No.
15             Q.   Okay.     So, again, we've talked about this
16      kind of in passing with other questions, but can you
17      just tell me generally how you use your smartphone?
18             MR. ULWICK:     Objection; vague.
19             THE WITNESS:    I go to social media.               I check my
20      banking apps.      I check my e-mails.              I might look up
21      things.
22      BY MS. SPECTOR:
23             Q.   Surf the Internet?
24             A.   Surf the Internet.
25             Q.   Okay.     Let's talk about the apps that you

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 1      exhibit.    I think this is Exhibit 3.
 2                  (Deposition Exhibit 3 was marked.)
 3      BY MS. SPECTOR:
 4             Q.   Do you recognize this document?
 5             A.   Yes.
 6             Q.   What do you understand it to be?
 7             A.   This is, I guess -- it says, "Consolidated
 8      Class Action Complaint."          But I have seen this
 9      document.
10             Q.   Okay.     Do you understand that this is the
11      complaint that is currently operative in this case?
12             A.   Yes.
13             Q.   Okay.
14                  And did you review this document before it
15      was filed with the court?
16             A.   Yes, I reviewed this document.
17             Q.   Okay.     And you don't have to tell me the
18      substance of any comments you gave, but did you
19      provide any comments or ask any questions before it
20      was filed?
21             A.   I talked to my -- I talked to my attorney.
22             Q.   Before it was filed with the court?
23             A.   No, but I talked to my attorney about
24      this.
25             Q.   When?

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 1             A.   I'm not sure.        What do you mean, before --
 2             Q.   So I'm just asking, did you review and
 3      provide comments or talk to your attorney about this
 4      document before it was filed with the court or
 5      after?
 6             A.   After it was filed with the court.
 7             Q.   Okay.
 8                  So you didn't review it before it was
 9      filed?
10             A.   I can't recall when I reviewed it.                 I'm
11      sorry.
12             Q.   That's okay.
13                  And you understand that you're named as
14      the plaintiff in this case; is that correct?
15             A.   Yes.
16             Q.   Okay.      And what does that mean to you?
17             A.   I'm not sure.        What do you mean what does
18      it mean to me?        Do I have a complaint?
19             Q.   Yes.
20             A.   Yes, I do.
21             Q.   Okay.      And what do you understand your
22      role is as a named plaintiff in this case?
23             A.   My role is --
24             Q.   Yes.
25             A.   -- I guess to represent those that can't

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 1      be here, the hundreds of millions of people that
 2      can't be here --
 3             Q.   Okay.
 4             A.   -- I guess I'm representing them.
 5             Q.   Okay.     So before we get into this very
 6      long document, can you tell me --
 7             A.   Yes.
 8             Q.   -- can you tell me in your own words why
 9      you're suing Google?
10             A.   Well, I'm suing Google because they're
11      selling my personal information, and they're
12      disclosing my personal information to third parties.
13             Q.   Okay.     And when you say, "personal
14      information," what do you mean?
15             A.   Personal information, everything about me.
16      Everything that Google knows about me, information
17      they got about me, they are selling it and exposing
18      it to third parties.
19             Q.   And what specific pieces of information do
20      you think -- strike that.
21                  What specific pieces of personal
22      information do you believe Google is disclosing or
23      selling?
24             A.   Okay.     So it's everything that kind of --
25      I believe, everything that they can use to identify

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 1      me.
 2                     So everything.      Everything that they have
 3      on me, I believe that Google is exposing to other
 4      people, other companies.
 5             Q.      Can you give me some -- oh, sorry.
 6                     Can you give me some examples?
 7             A.      Some examples?
 8             MR. ULWICK:      Counsel, I'm going to object based
 9      on Rifkind v. Superior Court because this is an
10      improper contention question.
11      BY MS. SPECTOR:
12             Q.      You can answer.
13             A.      So they are -- examples of the information
14      that they have -- that they exposed on me?
15             Q.      Yes.
16             A.      Okay.   My IP address, I believe they
17      exposed my address in conjunction of everything
18      else.       My age, the fact that I'm a woman, all the
19      information.
20             Q.      So when you say, "address," do you mean
21      your residential address?
22             MR. ULWICK:      Same objections.             Objection; calls
23      for expert testimony.
24             THE WITNESS:     I guess, yes.
25      BY MS. SPECTOR:

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 1             Q.   Okay.     Do you think they exposed your
 2      e-mail address?
 3             MR. ULWICK:     Objection; calls for expert
 4      testimony.
 5             THE WITNESS:    I believe that they have.
 6      BY MS. SPECTOR:
 7             Q.   Okay.     What about your name?
 8             MR. ULWICK:     Same objections.
 9             THE WITNESS:    I believe in conjunction with
10      everything that my name can be found out.
11      BY MS. SPECTOR:
12             Q.   Why?
13             A.   Because it's a lot of information.                It's
14      so much that I believe that, you know, if you put it
15      all together, they can know that, hey, this is
16      Rethena.
17             Q.   Do you think that Google has shared your
18      name itself?
19             MR. ULWICK:     Objection; calls for expert
20      testimony.
21             THE WITNESS:    I don't know.
22      BY MS. SPECTOR:
23             Q.   Okay.     Do you think that Google is sharing
24      your web browsing history?
25             MR. ULWICK:     Same objections.

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 1             THE WITNESS:     I believe so.
 2      BY MS. SPECTOR:
 3             Q.   Why?
 4             MR. ULWICK:      Same objection.
 5             THE WITNESS:     I just believe that they're
 6      sharing everything of me.           Just the things that I
 7      see, the ads that I see, I think that they are
 8      sharing my information.
 9      BY MS. SPECTOR:
10             Q.   So what about the ads that you see makes
11      you think that Google is sharing everything that it
12      has on you?
13             MR. ULWICK:      Objection; calls for expert
14      testimony, vague.
15             THE WITNESS:     Okay.      So just repeat it just
16      once again for me, please.            Sorry.
17      BY MS. SPECTOR:
18             Q.   Yeah.
19                  So what about the ads that you have seen
20      makes you think that Google is sharing all of the
21      personal information that it has about you?
22             MR. ULWICK:      Same objections.
23             THE WITNESS:     Some of the ads are specifically
24      catered to me.        They're just specific to me,
25      something that I think that they might think that

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 1      BY MS. SPECTOR:
 2             Q.   Yes.
 3             A.   I don't know how they're doing it.                I
 4      don't know how they're -- you know, they're doing
 5      it.    I'm not savvy in that way as far as computers
 6      or the Internet or any of those things, but I know
 7      that they're selling it and giving it to third
 8      parties.
 9             Q.   Okay.     Are you familiar with real-time
10      bidding, or RTB?
11             MR. ULWICK:     Objection; vague.
12             THE WITNESS:    I've heard of real-time bidding.
13      BY MS. SPECTOR:
14             Q.   And what do you understand it to be?
15             A.   What I understand it to be is that Google
16      is selling my personal information to the highest
17      bidder so that they can advertise to me
18      specifically.
19             Q.   Okay.     And who do you think is bidding?
20             MR. ULWICK:     Objection; calls for expert
21      testimony, calls for speculation.
22             THE WITNESS:    I don't know.
23      BY MS. SPECTOR:
24             Q.   Okay.     Do you believe that Google is
25      sharing your personal information without your

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 1      consent?
 2             MR. ULWICK:     Objection; calls for a legal
 3      conclusion.
 4             THE WITNESS:    Yes, I believe they're sharing my
 5      information without my consent.
 6      BY MS. SPECTOR:
 7             Q.   Okay.     So let's take a step back and talk
 8      a little bit more about what you understand
 9      "personal information" to be.
10                  Do you consider any specific pieces of
11      your personal information to be particularly
12      sensitive?
13             A.   No, it's all sensitive.
14             Q.   Is any information more sensitive than
15      others?
16             A.   No, it's all sensitive equally to me.
17             Q.   Okay.     Would you say your IP address is as
18      sensitive as your birth date?
19             A.   Yes.
20             Q.   Okay.     Do you consider cookies to be
21      personal information?
22             A.   I'm not really even sure of what cookies
23      are.    Yeah, I believe -- yeah, I've heard of
24      cookies, I kind of got an idea, but I'm not really
25      sure what cookies do.

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 1             Q.   Okay.     So you don't know if it is personal
 2      information?
 3             A.   It's still -- I believe it's personal
 4      information, but I don't -- I can't say if it's more
 5      than any other because I'm not really sure what
 6      cookies do.
 7             Q.   Okay.     So why do you say cookies are
 8      personal information?
 9             A.   I'm not really sure what they do, so I
10      can't say one way or another that it's personal
11      information or not.
12             Q.   Okay.     Would you say that your general
13      location in Nevada is as sensitive as your name?
14             A.   It's all sensitive to me.               Yeah, my
15      location is sensitive to me.
16             Q.   Okay.     Have you ever seen an ad online
17      that was targeted to information that you think is
18      sensitive?
19             MR. ULWICK:     Objection; vague.
20             MS. SPECTOR:    Strike that.          Let me strike that
21      actually.
22      BY MS. SPECTOR:
23             Q.   Have you ever seen an ad online that you
24      believed was about sensitive information?
25             MR. ULWICK:     Objection; vague.            Objection;

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 1      calls for speculation.
 2             THE WITNESS:    If you can kind of rephrase it
 3      differently or whatever.         You said an ad that was
 4      specific to sensitive information?
 5      BY MS. SPECTOR:
 6             Q.   Yeah.
 7             A.   I don't understand -- I don't kind of
 8      understand.    If you can --
 9             Q.   So you're saying that certain personal
10      information is sensitive; right?
11             A.   Um-hum.
12             MR. ULWICK:    Objection; misstates the prior
13      testimony.
14      BY MS. SPECTOR:
15             Q.   Have you ever seen an ad online about that
16      sensitive information?
17             MR. ULWICK:    Objection; vague.            Objection;
18      calls for speculation.
19             THE WITNESS:    I can't really say yes or no
20      because I'm not sure what you're saying.                  An ad
21      saying is this your information or do you think that
22      your information is sensitive?
23      BY MS. SPECTOR:
24             Q.   No.   Let me try again.
25             A.   Yeah, yeah.

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 1             Q.   Let's try again.         Let's try again.
 2                  Have you ever seen an online ad about --
 3      targeted to information that you think is sensitive
 4      and personal to you?
 5             MR. ULWICK:     Objection; vague.            Objection;
 6      calls for speculation.
 7             THE WITNESS:    I'm sorry, I'm trying, but
 8      I'm . . .
 9                  Okay.     Have I ever seen an ad that is
10      asking me to enter my personal information?
11      BY MS. SPECTOR:
12             Q.   No.
13             A.   I'm still -- I'm sorry.             I apologize.      I'm
14      sorry.
15             Q.   No, no, it's okay.          It's okay.
16                  Let's take a step back.             Have you ever
17      seen an ad about religion, for example?
18             A.   Yes, yes.
19             Q.   Okay.     Do you consider that to be an ad
20      targeted to sensitive information?
21             MR. ULWICK:     Objection; calls for speculation.
22      Objection; vague.
23             THE WITNESS:    Well, an ad targeting -- coming
24      to me about religion?
25      BY MS. SPECTOR:

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 1             Q.     Yeah.
 2             A.     It could be considered personal
 3      information, what my religion is.               It could be.
 4             Q.     Okay.   Do you think the ad was sensitive?
 5             MR. ULWICK:     Objection; vague.
 6             THE WITNESS:    My religion?
 7      BY MS. SPECTOR:
 8             Q.     Yeah.
 9             A.     My religion is sensitive, yeah.              I'm
10      sorry.      My religion is sensitive to me, so if it's
11      targeted to me, I consider that to be -- it could be
12      sensitive.
13             Q.     Okay.   And where did you see an ad about
14      religion?
15             A.     I can't recall where I might have seen an
16      ad specific -- I can't recall where I might have
17      seen an ad.
18             Q.     Okay.   Have you ever seen ads about
19      politicians or political parties?
20             A.     Yes.
21             Q.     Okay.   Do you consider those to be
22      sensitive?
23             A.     If it's sensitive -- I'm just not kind of
24      understanding what you mean by "is it sensitive."
25                    If there's an ad to a specific party,

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 1      because I've seen ads for all kinds of
 2      politicians -- politics or politicians, so I can't
 3      say that it's specific to me.
 4             Q.   Let's take a break and then we can move
 5      on.
 6                  So I want to go back to the complaint.                  We
 7      can talk about it a little bit now.
 8                  So this says, "Consolidated Class Action
 9      Complaint" on the cover.
10                  Do you see that?
11             A.   Yes.
12             Q.   What do you understand the -- strike that.
13                  What do you understand a class action to
14      be?
15             A.   A class action to me is -- it would be
16      like a -- kind of like a lawsuit for the masses,
17      everyone that it might affect.
18             Q.   Okay.     And then moving just over to the
19      left, you see it says "Benjamin Hewitt, et al."
20                  Do you understand that the "et al."
21      includes yourself?
22             A.   "Et al." would be, yeah, everyone.
23             Q.   Yeah, yeah.      All the named plaintiffs;
24      right?
25             A.   Yes.

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 1             Q.   Okay.     And then it says, "on behalf of
 2      themselves and all others similarly situated."
 3                  Do you see that?
 4             A.   Yes.
 5             Q.   Okay.     And what do you understand it to
 6      mean for others to be similarly situated to you and
 7      the other named plaintiffs?
 8             MR. ULWICK:     Objection; calls for a legal
 9      conclusion, calls for expert testimony.
10             THE WITNESS:    It would mean anyone that's in
11      the similar situation as myself or any other
12      plaintiff.
13      BY MS. SPECTOR:
14             Q.   Do they have to have a Google account?
15             MR. ULWICK:     Same objections.
16             THE WITNESS:    I don't know.
17      BY MS. SPECTOR:
18             Q.   Are there any other criteria that they
19      would have to meet to be similarly situated to you?
20             MR. ULWICK:     Same objections --
21      BY MS. SPECTOR:
22             Q.   -- in this case.
23             MS. SPECTOR:    Sorry.
24             MR. ULWICK:     Same objections.
25             THE WITNESS:    You know what, I really can't

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 1      say.    I don't know.
 2      BY MS. SPECTOR:
 3             Q.   Okay.
 4             A.   I don't know.
 5             Q.   Okay.     Let's talk about the -- some
 6      language just prior to that, it says, "on behalf
 7      of."
 8                  Do you see that?
 9             A.   Yes.
10             Q.   What do you understand your role to be in
11      acting on behalf of the other class members who are
12      similarly situated?
13             MR. ULWICK:     Objection; calls for a legal
14      conclusion.
15             THE WITNESS:    I would think "on behalf of" as
16      far as being a representative for others similarly
17      situated.
18      BY MS. SPECTOR:
19             Q.   And what do you understand your role is as
20      a class representative?
21             MR. ULWICK:     Objection; calls for a legal
22      conclusion.
23             THE WITNESS:    Just to represent, I guess,
24      millions of others or . . .
25      BY MS. SPECTOR:

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 1             Q.   What do you think -- sorry.              Finish,
 2      please.
 3             A.   Okay.
 4                  Just, like I said, a representative for
 5      others that are not here or can't be here or may not
 6      even know about this.
 7             Q.   Okay.     And what are your responsibilities
 8      as a representative?
 9             MR. ULWICK:     Objection; calls for legal
10      conclusion.
11             THE WITNESS:    Just to represent -- just to
12      represent them, just to be a face.
13      BY MS. SPECTOR:
14             Q.   Okay.     So let's turn to paragraph 30.
15      It's on page 10 of the exhibit.
16             MR. ULWICK:     Counsel, is that page 10 at the
17      bottom numbers or page 10 at the top?
18             MS. SPECTOR:    Bottom -- bottom numbers.
19             MR. ULWICK:     Bottom numbers.
20             MS. SPECTOR:    Good question.
21      BY MS. SPECTOR:
22             Q.   And the first sentence, do you see where
23      it says, "Plaintiffs bring this class action on
24      behalf of themselves and all Google account holders
25      in the United States whose personal information was

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 1                  So you're seeking to represent Google
 2      account holders whose personal information was sold
 3      or disclosed without authorization; is that right?
 4             A.   Yes.
 5             MR. ULWICK:     Objection; document speaks for
 6      itself.
 7                  You can answer.
 8             THE WITNESS:    Yes.
 9      BY MS. SPECTOR:
10             Q.   Okay.     So if somebody authorized the
11      practices that you're challenging, would they be
12      part of this group that you're seeking to represent?
13             MR. ULWICK:     Objection; calls for a legal
14      conclusion, calls for expert testimony.
15             THE WITNESS:    If they authorized Google to sell
16      their information?
17      BY MS. SPECTOR:
18             Q.   Yes.
19             A.   Would they be part of the class -- you
20      know what, I don't know.          I don't know.        I'm really
21      not an expert in law, so I can't say.
22             Q.   Okay.     But without speaking to the law,
23      have you -- are you aware of any ways that a Google
24      account holder could authorize the conduct that
25      you're challenging?

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 1             MR. ULWICK:     Objection; calls for legal
 2      conclusion, calls for expert testimony, calls for
 3      speculation.
 4             THE WITNESS:    So is there a way that a Google
 5      account holder can authorize Google to sell their
 6      information?
 7      BY MS. SPECTOR:
 8             Q.   Yes.
 9             A.   I don't know of any way where Google --
10      about anyone that -- I don't know of any way that
11      they can authorize the selling of their information.
12             Q.   Okay.     What about if somebody knew about
13      the alleged practices, did not object and continued
14      to use Google Services, would that be authorization?
15             MR. ULWICK:     Same objections.
16             THE WITNESS:    If someone knows about the
17      practice and nothing changed their practice?
18                  Okay.     So you're saying if someone knows
19      what that -- of Google's practice to sell
20      information to a third party and the person doesn't
21      change how they use Google, is that what you're
22      asking?
23      BY MS. SPECTOR:
24             Q.   Yes.
25             A.   That's not authorization.

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 1             Q.   Why not?
 2             MR. ULWICK:    Same objections.
 3             THE WITNESS:    Because they didn't authorize for
 4      them to sell their information.             That doesn't mean
 5      that they have to change their behavior, you know.
 6      They never authorized the information to be sold or
 7      the way that Google practices.
 8      BY MS. SPECTOR:
 9             Q.   Go ahead.    Keep going.
10             A.   That doesn't mean that they have to change
11      their ways.    I'm thinking that they should be able
12      to continue how they are and Google should change
13      their practice because that's not what they
14      initially said they were going to do.
15             Q.   Where did they say they were going to do
16      something different?
17             MR. ULWICK:    Objection; calls for legal
18      conclusion --
19             THE WITNESS:    They never said --
20             MR. ULWICK:    That's fine.        Hold on.
21             MS. SPECTOR:    Hang on.
22             THE WITNESS:    I'm sorry.        I'm sorry.
23             MR. ULWICK:    Let me make my objections.             I know
24      you're eager, but that's my objections.
25                  It's vague, calls for speculation, calls

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 1      for legal conclusion, calls for expert testimony.
 2             THE WITNESS:    I don't remember Google ever
 3      saying that they were going to sell any information.
 4      I never seen them saying that they were going to
 5      sell any information.        That's what I wanted to say.
 6      BY MS. SPECTOR:
 7             Q.   Okay.     Do you think if somebody knows
 8      about these practices that they should stop using
 9      Google?
10             MR. ULWICK:     Objection; calls for legal
11      conclusion, calls for expert testimony, calls for
12      speculation.
13             THE WITNESS:    I think that Google should stop
14      their actions.
15      BY MS. SPECTOR:
16             Q.   Even if these -- strike that.
17                  So even if Google disclosed the practices
18      you're challenging and somebody knew about it, you
19      still think that that person should keep using
20      Google and Google instead should change?
21             MR. ULWICK:     Objection; misstates prior
22      testimony, calls for speculation, incomplete
23      hypothetical, calls for legal conclusion.
24             THE WITNESS:    I think that Google should stop
25      their practice of selling information.

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 1      you're trying to obtain in this lawsuit against
 2      Google.
 3                  Are you seeking to recover any money from
 4      Google in this lawsuit?
 5             A.   I'm not -- I'm not sure what you mean by
 6      "money."
 7                  I think that everyone should be
 8      compensated.
 9             Q.   That's what I mean.
10             A.   Oh, okay.     Yes.
11             Q.   So you think that yourself and the class
12      members should be compensated with money; is that
13      right?
14             A.   Yes.
15             Q.   Okay.     And why?
16             MR. ULWICK:     Objection; calls for legal
17      conclusion.
18             THE WITNESS:    Well, Google is making money off
19      of my private information that I did not -- that
20      they promised that they wouldn't share.                But they're
21      making money off of it.
22      BY MS. SPECTOR:
23             Q.   Where did they promise they wouldn't share
24      it?
25             MR. ULWICK:     Objection; calls for legal

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 1      conclusion, calls for expert testimony.
 2             THE WITNESS:    In their terms of agreement.
 3      BY MS. SPECTOR:
 4             Q.   Okay.     And we can look at that in a little
 5      bit.
 6                  How much money are you looking to recover?
 7             MR. ULWICK:     Objection; calls for expert
 8      testimony.
 9             THE WITNESS:    I don't know.           I don't know.      I
10      don't know.
11      BY MS. SPECTOR:
12             Q.   Do you think that other Google users
13      should get the same amount of money as you?
14             MR. ULWICK:     Objection; calls for legal
15      conclusion, calls for expert testimony.
16             THE WITNESS:    Yes.
17      BY MS. SPECTOR:
18             Q.   Why?
19             MR. ULWICK:     The same objections.
20             THE WITNESS:    Because we're all suffering the
21      same amount -- same amount of things from -- you
22      know, violations from Google.
23      BY MS. SPECTOR:
24             Q.   Well, if someone had a Google account and
25      Google never sent any information about them through

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 1      the real-time bidding process, do you think they
 2      should still get money from this lawsuit?
 3             MR. ULWICK:    Objection; vague.            Objection;
 4      incomplete hypothetical, calls for expert testimony
 5      and legal conclusion.
 6             THE WITNESS:    Well, I wouldn't know.             I
 7      wouldn't know if the person didn't -- theirs didn't
 8      go through the real-time bidding.              If they gave
 9      their information to a third party and it -- then
10      yes, they should be a part of it.
11      BY MS. SPECTOR:
12             Q.   But if Google did not share their
13      information, should they get money?
14             MR. ULWICK:    Same objections.
15             THE WITNESS:    I can't tell what -- if Google
16      shared it or not.      You know, I can't say.             I can't
17      say.
18      BY MS. SPECTOR:
19             Q.   But if it didn't, would they still be
20      entitled to compensation?
21                  (Reporter seeks clarification.)
22             MR. ULWICK:    Objection; asked and answered the
23      third time now.
24             THE WITNESS:    I don't know.          I would have to
25      leave it up to a judge or a jury.              I don't know.

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 1      BY MS. SPECTOR:
 2             Q.   Okay.     Are you seeking anything other than
 3      money from Google in this suit?
 4             MR. ULWICK:     Objection; calls for legal
 5      conclusion.
 6             THE WITNESS:    I just don't want Google to
 7      continue with their actions.            I don't want them to
 8      continue to share personal information.
 9      BY MS. SPECTOR:
10             Q.   So you want Google to change its business
11      practices?
12             MR. ULWICK:     Same objections.
13             THE WITNESS:    I want Google to change its
14      business practices.
15      BY MS. SPECTOR:
16             Q.   Okay.     Do you believe you're at risk of
17      future harm or injury if Google does not change its
18      practices?
19             MR. ULWICK:     Objection; calls for legal
20      conclusion, calls for expert testimony, vague.
21             THE WITNESS:    I don't want my personal
22      information out there.         So it's harmful to me.
23      BY MS. SPECTOR:
24             Q.   Any other harm you're trying to prevent?
25             MR. ULWICK:     Same objections.

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 1             THE WITNESS:    I'm assuming that it personalizes
 2      your ad personalization or preferences.
 3      BY MS. SPECTOR:
 4             Q.   So if this setting is on, do you still --
 5      let me strike that.
 6                  Do you still object to Google using
 7      information to personalize ads to you even though
 8      this setting was turned on?
 9             MR. ULWICK:    Objection; vague, calls for legal
10      conclusion and expert testimony.
11             THE WITNESS:    What I object to is Google giving
12      my information to a third party.
13                  I did not say I object to them targeting
14      personal ads, I just object to them giving it to a
15      third party, my personal information.               I didn't say
16      anything about the personalization of ads.
17      BY MS. SPECTOR:
18             Q.   Do you understand that ad -- strike that.
19                  Do you object to third parties
20      personalizing ads to you based on information
21      provided in RTB?
22             MR. ULWICK:    Same objections.
23             THE WITNESS:    I object to -- my whole thing is
24      that I don't want them to give it to third parties.
25      I don't want them to sell it or give it to third

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 1      parties.    The personalization is part of it, but I
 2      don't want my private information given to third
 3      parties for them to even personalize an ad towards
 4      me.
 5      BY MS. SPECTOR:
 6             Q.   So why is this setting on?
 7             A.   I don't know why it's --
 8             MR. ULWICK:     Objection -- let me get my
 9      objection in.
10             THE WITNESS:    Sorry.
11             MR. ULWICK:     Objection; argumentative, calls
12      for expert testimony.
13                  You can answer now.
14             THE WITNESS:    Oh, I'm sorry.           I'm not -- I
15      don't know why it's on.
16      BY MS. SPECTOR:
17             Q.   Okay.     And you've never done any
18      investigation into this setting before today?
19             MR. ULWICK:     Objection; asked and answered.
20             THE WITNESS:    I have not done any investigation
21      about the setting.
22      BY MS. SPECTOR:
23             Q.   Okay.     Do you know if you've previously
24      set it to off, to turn off -- strike that.
25                  Have you ever turned off the ad

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 1      personalization setting before, to your knowledge?
 2             MR. ULWICK:      Objection; calls for speculation,
 3      vague.
 4             THE WITNESS:     I don't remember if I turned it
 5      on or off.       It would had to have been -- I don't
 6      know.       I don't know if I've turned it on or off.                  I
 7      don't remember doing any of it.
 8      BY MS. SPECTOR:
 9             Q.      Okay.   For any of your accounts; is that
10      correct?
11             MR. ULWICK:      Same objections.
12             THE WITNESS:     I'm sorry.
13                     For any of my accounts.
14      BY MS. SPECTOR:
15             Q.      Do you think that people who have this
16      setting turned off are injured by the conduct
17      alleged in your complaint?
18             MR. ULWICK:      Objection; calls for a legal
19      conclusion, calls for expert testimony, speculation
20      as well.       I'm sorry.
21             THE WITNESS:     I don't think it matters if they
22      have it on or off.       Because Google is still giving
23      personal information to third parties.                   So I don't
24      think it really matters if it's on or off, my
25      opinion, if they're still giving the information to

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 1      a third party to -- a third party to use.
 2      BY MS. SPECTOR:
 3             Q.   Do you know if Google is still giving
 4      information through RTB to third parties if this
 5      setting is turned off?
 6             MR. ULWICK:     Objection; vague, calls for expert
 7      testimony.
 8             THE WITNESS:    I don't know.
 9      BY MS. SPECTOR:
10             Q.   Okay.     Are you seeking to represent class
11      members who have this setting turned off?
12             MR. ULWICK:     Objection; vague, calls for
13      speculation, calls for a legal conclusion.
14             THE WITNESS:    I don't know.           I don't know
15      legally.    I don't know.       I would have to leave that
16      to a judge or a jury.        I don't know.
17      BY MS. SPECTOR:
18             Q.   Do you think that they're in the same
19      position as you if they have the setting turned off?
20             MR. ULWICK:     Same objections.
21             THE WITNESS:    I don't know.           I can't speculate
22      if -- I can't -- I don't know.
23      BY MS. SPECTOR:
24             Q.   Just give me one second.
25             THE WITNESS:    Can I get a paper towel?

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 1             A.   Right.
 2             Q.   -- I'm not either.
 3                  Have you ever been curious about whether
 4      settings like this could affect the conduct that
 5      you're challenging in your complaint?
 6             MR. ULWICK:    Objection; vague.
 7             THE WITNESS:    I didn't think that any of these
 8      settings would have anything to do with what I'm
 9      suggesting in the lawsuit -- you know, in the class
10      action, because they said it was -- it's not about
11      them seeing my information, it's about selling it.
12                  So I didn't even think about any of these
13      settings.    I didn't think about it afterwards
14      either, after I seen this.
15      BY MS. SPECTOR:
16             Q.   So let's just take a step back.
17                  I understand you're objecting to Google
18      selling your personal information; is that correct?
19             A.   Yes.
20             Q.   Are you objecting to Google sharing your
21      personal information in RTB?
22             MR. ULWICK:    Objection; calls for a legal
23      conclusion.
24             THE WITNESS:    I am objecting to them selling
25      and sharing my information to a third party in the

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 1      RBT [sic].
 2      BY MS. SPECTOR:
 3             Q.   RTB.
 4             A.   RTB.      Because they said they wouldn't,
 5      so . . .
 6             Q.   Okay.      And where did they say they
 7      wouldn't?
 8             A.   They said it -- in their terms and
 9      agreements, they said that they wouldn't.
10             Q.   Do you remember any specific language
11      where they said that?
12             A.   It says -- I do remember -- I do remember
13      in bold statements, we will not sell your data.                    I
14      do remember seeing that in bold letters.
15             Q.   Okay.      And did you -- strike that.
16                  When did you see that
17      information -- strike that.
18                  When did you see that language, do you
19      remember?
20             A.   I don't remember when I seen it --
21             Q.   Okay.
22             A.   -- but I do remember seeing it.
23             Q.   Do you remember -- strike that.
24                  Did you -- strike that.
25                  Do you remember seeing it when you signed

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 1      attorney, James Ulwick, in this action.                I just have
 2      a few questions to clarify a couple of elements of
 3      your testimony today.
 4                  Today, Ms. Spector placed Exhibit 3, I
 5      think, in front of you, which is the complaint and
 6      that's this document.
 7                  Now, you testified today that you had not
 8      seen this prior to filing; is that correct?
 9             A.   Yes.
10             Q.   Okay.     And this is the complaint that was
11      actually filed with the court, and that's your
12      understanding; right?
13             A.   Yes.
14             Q.   Okay.     However, you were given the
15      opportunity to and then did actually review a draft
16      of the complaint prior to it being filed; is that
17      right?
18             A.   Yes.
19             Q.   And did you have an opportunity to discuss
20      with me and with David the content of the complaint
21      prior to us filing it?
22             A.   Yes.
23             Q.   Okay.     And then you also testified today
24      that you met with Mr. Straite and I to prepare for
25      your deposition once before today; is that right?

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 1             A.   Yes, I did.
 2             Q.   Okay.     Is it not also true that you had
 3      two Zoom prep sessions, not meetings, but prep
 4      sessions, with me and with David prior to today as
 5      well?
 6             A.   Yes, on Zoom.
 7             Q.   Okay.     And could you give me an estimate
 8      of about how many hours you spent all told over the
 9      course of those three meetings preparing for today's
10      deposition?
11             A.   I'd say about nine hours --
12             Q.   Okay.
13             A.   -- yes.
14             MR. ULWICK:     No further questions.
15             MS. SPECTOR:    Great.      And just for the record,
16      thank you so much for traveling here.                Really
17      appreciate your time.
18             MR. ULWICK:     And thank you for the generosity.
19      You guys are always very gracious hosts and we
20      appreciate it.
21             MS. SPECTOR:    Yes.
22             THE VIDEOGRAPHER:       Okay.      Let me take you off
23      record.
24                  Going off the record.            The time now is
25      3:02.

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 1                    I, the undersigned, a Certified Shorthand
 2      Reporter of the State of California, do hereby
 3      certify:
 4                    That the foregoing proceedings were taken
 5      before me at the time and place herein set forth;
 6      that any witnesses in the foregoing proceedings,
 7      prior to testifying, were administered an oath; that
 8      a record of the proceedings was made by me using
 9      machine shorthand which was thereafter transcribed
10      under my direction; that the foregoing transcript is
11      a true record of the testimony given.
12                    Further, that if the foregoing pertains to
13      the original transcript of a deposition in a Federal
14      Case, before completion of the proceedings, review
15      of the transcript ( ) was (X) was not requested.
16                    I further certify that I am neither
17      financially interested in the action nor a relative
18      or employee of any attorney of any party to this
19      action.
20                    IN WITNESS WHEREOF, I have this date
21      subscribed my name.
22      Dated:      May 2, 2023
23
24                                  <%16617,Signature%>
                                    _____________________________
25                                  ANRAE WIMBERLEY, CSR No. 7778

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